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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

    THE TRADING COLLECTIVE, LLC,

                  Plaintiff,                                 C.A. No. 20-0311-MN

        v.                                                   JURY TRIAL DEMANDED

    THE MANE CHOICE HAIR SOLUTION LLC,
    NATURE GLOW, and LE CHIQUE BOUTIQUE,

                  Defendants.


       DEFENDANT THE MANE CHOICE HAIR SOLUTION LLC’S ANSWER TO
          PLAINTIFF THE TRADING COLLECTIVE, LLC’S COMPLAINT

        Defendant The Mane Choice Hair Solution LLC (“Mane Choice”) hereby answers the

Complaint of Plaintiff The Trading Collective, LLC (“Trading Collective”) as follows:

                                            PARTIES1

        1.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 1 of the Complaint and, therefore, denies those allegations.

        2.     Mane Choice admits that it is a Delaware Corporation with its registered agent, the

Corporation Trust Company, located at 1209 Orange Street, Wilmington, DE 19801.

        3.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 3 of the Complaint and, therefore, denies those allegations.

        4.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 4 of the Complaint and, therefore, denies those allegations.

        5.     Mane Choice admits the allegations in Paragraph 5 of the Complaint.


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 For ease of reference, Mane Choice follows the outline headings used in the Complaint. To the
extent that such headings are deemed to make factual allegations, Mane Choice does not adopt or
admit such allegations.
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        6.      Mane Choice denies the allegations in Paragraph 6 of the Complaint.

        7.      Paragraph 7 does not contain an allegation of fact to which a response is required.

To the extent a response is required, Mane Choice is without information or knowledge sufficient

to form a belief as to the truth of the allegations in Paragraph 7 of the Complaint and, therefore,

denies those allegations.

                                     JURISDICTION AND VENUE

        8.      Paragraph 8 of the Complaint states a legal conclusion to which no response is

required. To the extent a response is required, Mane Choice admits this Court has subject matter

jurisdiction over this action.

        9.      Paragraph 9 of the Complaint states a legal conclusion to which no response is

required. To the extent a response is required, Mane Choice admits that it is a Delaware limited

liability company and that it is subject to personal jurisdiction in this Court for the purpose of this

action. Mane Choice denies the remaining allegations in Paragraph 9 of the Complaint.

        10.     Mane Choice admits that it has sold products to customer in Delaware and that it

maintains a website accessible over the internet. The remainder of the allegations of Paragraph 10

are characterizations of fact to which no response is required. To the extent a response is required,

The Mane Choice denies the remainder of the allegations of Paragraph 10.

        11.     Paragraph 11 of the Complaint states a legal conclusion to which no response is

required. To the extent a response is required, Mane Choice denies the allegations asserted in

Paragraph 11 of the Complaint.

        12.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 12 of the Complaint and, therefore, denies those

allegations.




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       13.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 13 of the Complaint and, therefore, denies those

allegations.

       14.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 14 of the Complaint and, therefore, denies those

allegations.

       15.     Paragraph 15 of the Complaint states a legal conclusion to which no response is

required. To the extent a response is required, Mane Choice admits that venue in this District is

proper under 28 U.S.C. § 1391(b)(1) for the purpose of this action. Mane Choice denies the

remaining allegations asserted in Paragraph 15 of the Complaint.

                                        BACKGROUND FACTS

       16.     Mane Choice admits the allegations in Paragraph 16 of the Complaint.

       17.     Mane Choice admits that it is the registered owner of U.S. Trademark Registration

Nos. 4790425 and 4977930. Mane Choice states that the remainder of the allegations of Paragraph

17 refer to documents attached to the Complaint that purport to be registration certificates for U.S.

Trademark Registration Nos. 4790425 and 4977930, refers to such documents for a complete and

accurate statement of their contents, and denies any allegations inconsistent with their contents.

       18.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 18 of the Complaint and, therefore, denies those

allegations.

       19.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 19 of the Complaint and, therefore, denies those

allegations.




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       20.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 20 of the Complaint and, therefore, denies those

allegations.

       21.     Paragraph 21 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations contained in

Paragraph 21 of the Complaint.

                                    ONLINE MARKETPLACES

       22.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 22 of the Complaint and, therefore, denies those

allegations.

       23.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 23 of the Complaint and, therefore, denies those

allegations.

       24.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 24 of the Complaint and, therefore, denies those

allegations.

       25.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 25 of the Complaint and, therefore, denies those

allegations.

       26.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 26 of the Complaint and, therefore, denies those

allegations.

       27.     Mane Choice is without information or knowledge sufficient to form a belief as to




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the truth of the allegations in Paragraph 27 of the Complaint and, therefore, denies those

allegations.

       28.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 28 of the Complaint and, therefore, denies those

allegations.

       29.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 29 of the Complaint and, therefore, denies those

allegations.

       30.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 30 of the Complaint and, therefore, denies those

allegations.

       31.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 31 of the Complaint and, therefore, denies those

allegations.

       32.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 32 of the Complaint and, therefore, denies those

allegations.

       33.     Mane Choice admits that the allegations of Paragraph 33 purport to reproduce an

image of Plaintiff’s recent reviews entitled “Market Supplies,” refers to the original for a complete

and accurate statement of its contents, and denies any allegations inconsistent with its contents.

       34.     Paragraph 34 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph 34

of the Complaint.




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                DEFENDANTS [sic] ATTEMPTS TO STIFLE COMPETITION BY
                 FILING FALSE INTELLECTUAL PROPERTY COMPLAINTS

       35.     Mane Choice denies the allegations in Paragraph 35 of the Complaint.

       36.     Mane Choice denies the allegations in Paragraph 36 of the Complaint.

       37.     As to itself, Mane Choice denies the allegations in Paragraph 37 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations of Paragraph 37.

       38.     As to itself, Mane Choice denies the allegations in Paragraph 38 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations of Paragraph 38.

       39.     As to itself, Mane Choice denies the allegations in Paragraph 39 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations of Paragraph 39.

       40.     As to itself, Mane Choice states that Paragraph 40 of the Complaint states a legal

conclusion to which no response is required. As to Defendants other than Mane Choice, Mane

Choice lacks knowledge or information sufficient to form a belief as to the truth of the allegations

of Paragraph 40.

       41.     Paragraph 41 of the Complaint states a legal conclusion to which no response is

required.

       42.     Paragraph 42 of the Complaint states a legal conclusion to which no response is

required.

       43.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 43 of the Complaint and, therefore, denies those

allegations.



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       44.     Mane Choice states that the allegations of Paragraph 44 purport to quote from an

article entitled “False Infringement Claims are Rife on Amazon,” refers to the original of such

article for a complete and accurate statement of its contents, and denies any allegations inconsistent

with its contents.

       45.     As to itself, Mane Choice denies the allegations in Paragraph 45 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations in Paragraph 45.

       46.     As to itself, Mane Choice denies the allegations in Paragraph 46 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations of Paragraph 46.

       47.     Paragraph 47 of the Complaint states a legal conclusion to which no response is

required.

       48.      As to itself, Mane Choice denies the allegations in Paragraph 48 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations in Paragraph 48.

       49.     As to itself, Mane Choice denies making allegations and states that the remaining

allegations in Paragraph 49 of the Complaint state a legal conclusion to which no response is

required. As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 49.

       50.     As to itself and as to the alleged complaint submitted to Amazon, Mane Choice is

without information or knowledge sufficient to form a belief as to the truth of the allegations in

Paragraph 50 of the Complaint and, therefore, denies those allegations and states that the remainder

of the allegations of Paragraph 50 state a legal conclusion to which no response is required. As to




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Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient to

form a belief as to the truth of the allegations of Paragraph 50.

       51.     Mane Choice states that the allegations of Paragraph 51 purport to quote from a

section of Amazon’s website, refers to the original for a complete and accurate statement of its

contents, and denies any allegations inconsistent with its contents.

       52.     Paragraph 52 does not contain an allegation of fact to which a response is required.

To the extent a response is required, Mane Choice is without information or knowledge sufficient

to form a belief as to the truth of the allegations in Paragraph 52 of the Complaint and, therefore,

denies those allegations.

       53.     Mane Choice states that the allegations of Paragraph 53 purport to reproduce a

notice from Amazon, refers to the original of such notice for a complete and accurate statement of

its contents, denies any allegations inconsistent with its contents, and lacks information or

knowledge sufficient to form a belief as to the remainder of the allegations of Paragraph 53.

       54.     Mane Choice states that the allegations of Paragraph 54 refer to a notice from

Amazon, refers to the original of such notice for a complete and accurate statement of its contents,

and denies any allegations inconsistent with its contents.

       55.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 55 of the Complaint and, therefore, denies those

allegations.

       56.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 56 of the Complaint and, therefore, denies those

allegations.

       57.     As to itself, Mane Choice admits that it has not performed a test purchase, denies




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filing the referenced report, and denies the remaining allegations of Paragraph 57.              As to

Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient to

form a belief as to the truth of the allegations of Paragraph 57.

       58.      As to itself, Mane Choice admits that it did not have specific knowledge of a

particular counterfeit Mane Choice Product in the marketplace. As to Defendants other than Mane

Choice, Mane Choice lacks knowledge or information sufficient to form a belief as to the truth of

the allegations of Paragraph 58.

       59.     As to itself, Mane Choice denies making the referenced allegation and states that

the remaining allegations in Paragraph 59 of the Complaint state a legal conclusion to which a

response is not required. As to Defendants other than Mane Choice, Mane Choice lacks knowledge

or information sufficient to form a belief as to the truth of the allegations of Paragraph 59.

       60.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 60 of the Complaint and, therefore, denies those

allegations.

       61.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 61 of the Complaint and, therefore, denies those

allegations.

       62.     Mane Choice denies the allegations in Paragraph 62 of the Complaint.

       63.     As to itself, Mane Choice denies filing complaints and is without information or

knowledge sufficient to form a belief as to the truth of the allegations in Paragraph 63 of the

Complaint and, therefore, denies those allegations. As to Defendants other than Mane Choice,

Mane Choice lacks knowledge or information sufficient to form a belief as to the truth of the

allegations of Paragraph 63.




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       64.     As to itself, Mane Choice denies filing complaints and is without information or

knowledge sufficient to form a belief as to the truth of the allegations in Paragraph 64 of the

Complaint and, therefore, denies those allegations. As to Defendants other than Mane Choice,

Mane Choice lacks knowledge or information sufficient to form a belief as to the truth of the

allegations of Paragraph 64.

       65.     As to itself, Mane Choice admits that it has not performed a test purchase on

products sold by Plaintiff and denies the remainder of the allegations of Paragraph 65 of the

Complaint.    As to Defendants other than Mane Choice, Mane Choice lacks knowledge or

information sufficient to form a belief as to the truth of the allegations of Paragraph 65.

       66.     As to itself, Mane Choice admits that it did not have specific knowledge of a

particular counterfeit Mane Choice Product in the marketplace. As to Defendants other than Mane

Choice, Mane Choice lacks knowledge or information sufficient to form a belief as to the truth of

the allegations of Paragraph 66.

       67.      As to itself, Mane Choice denies making the referenced allegations and states that

the remainder of the allegations of Paragraph 67 of the Complaint state a legal conclusion to which

a response is not required. As to Defendants other than Mane Choice, Mane Choice lacks

knowledge or information sufficient to form a belief as to the truth of the allegations of Paragraph

67.

             DEFENDANTS REFUSED TO RETRACT THEIR FALSE REPORTS

       68.     As to itself, Mane Choice states that the allegations of the first sentence of

Paragraph 68 are characterizations of fact to which no response is required, denies making the

referenced complaint, admits that it has not retracted any complaint, and denies the remaining

allegations of Paragraph 68 of the Complaint. As to Defendants other than Mane Choice, Mane




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Choice lacks knowledge or information sufficient to form a belief as to the truth of the allegations

of Paragraph 68.

       69.     As to itself, Mane Choice is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 69, and denies that it has not attempted to

contact Plaintiff’s counsel. As to Defendants other than Mane Choice, Mane Choice lacks

knowledge or information sufficient to form a belief as to the truth of the allegations of Paragraph

69.

       70.     As to itself, Mane Choice is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 70, and denies that it has not attempted to

contact Plaintiff’s counsel. As to Defendants other than Mane Choice, Mane Choice lacks

knowledge or information sufficient to form a belief as to the truth of the allegations of Paragraph

70.

       71.     As to itself, Mane Choice denies making the referenced allegations, denies making

a complaint, admits that it has not retracted any such complaint, and denies the remaining

allegations of Paragraph 71. As to Defendants other than Mane Choice, Mane Choice lacks

knowledge or information sufficient to form a belief as to the truth of the allegations of Paragraph

71.

                                    HARM TO PLAINTIFF

       72.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 72 of the Complaint and, therefore, denies those

allegations.

       73.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 73 of the Complaint and, therefore, denies those




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allegations.

       74.     As to itself, Mane Choice denies the allegations in Paragraph 74 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations of Paragraph 74.

       75.     As to itself, Mane Choice denies the allegations in Paragraph 75 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations of Paragraph 75.

       76.      Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 76 of the Complaint and, therefore, denies those

allegations.

       77.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 77 of the Complaint and, therefore, denies those

allegations.

       78.     As to itself, Mane Choice denies the allegations of Paragraph 78 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations of Paragraph 78.

       79.     As to itself, Mane Choice denies the allegations of Paragraph 79 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations of Paragraph 79.

       80.     As to itself, Mane Choice denies making a complaint, lacks knowledge or

information sufficient to form a belief as to the truth of the allegations regarding Plaintiff’s

performance metrics, and states that the remaining allegations of Paragraph 80 of the Complaint

state a legal conclusion to which a response is not required. As to Defendants other than Mane




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Choice, Mane Choice lacks knowledge or information sufficient to form a belief as to the truth of

the allegations of Paragraph 80.

       81.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 81 of the Complaint and, therefore, denies those

allegations.

       82.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 82 of the Complaint and, therefore, denies those

allegations.

       83.     As to itself, Mane Choice denies making a complaint or review and lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 83 of the Complaint. As to Defendants other than Mane Choice, Mane Choice lacks

knowledge or information sufficient to form a belief as to the truth of the allegations of Paragraph

83.

                              COUNT I (DECLARATORY JUDGMENT)

       84.     Mane Choice repeats, realleges, and incorporates by reference its responses to the

allegations set forth in the preceding Paragraphs, as if fully set forth herein.

       85.     Mane Choice admits that it manufactures and distributes Mane Choice Products

and states that the remaining allegations of Paragraph 85 of the Complaint state a legal conclusion

to which no response is required.

       86.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 86 of the Complaint and, therefore, denies those

allegations.

       87.     As to itself, Mane Choice denies the allegations of Paragraph 87 of the Complaint.




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As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations of Paragraph 87.

       88.      As to itself, Mane Choice is without information or knowledge sufficient to form

a belief as to the truth of the allegations in Paragraph 88 of the Complaint and, therefore, denies

those allegations. As to Defendants other than Mane Choice, Mane Choice lacks knowledge or

information sufficient to form a belief as to the truth of the allegations of Paragraph 88.

       89.     As to itself, Mane Choice denies making a complaint and is without information or

knowledge sufficient to form a belief as to the truth of the remaining allegations in Paragraph 89

of the Complaint and, therefore, denies those allegations. As to Defendants other than Mane

Choice, Mane Choice lacks knowledge or information sufficient to form a belief as to the truth of

the allegations of Paragraph 89.

       90.     As to itself, Mane Choice denies making a complaint and is without information or

knowledge sufficient to form a belief as to the truth of the remaining allegations in Paragraph 90

of the Complaint and, therefore, denies those allegations. As to Defendants other than Mane

Choice, Mane Choice lacks knowledge or information sufficient to form a belief as to the truth of

the allegations of Paragraph 90.

       91.     As to itself, Mane Choice denies making a complaint and is without information or

knowledge sufficient to form a belief as to the truth of the remaining allegations in Paragraph 91

of the Complaint and, therefore, denies those allegations. As to Defendants other than Mane

Choice, Mane Choice lacks knowledge or information sufficient to form a belief as to the truth of

the allegations of Paragraph 91.

       92.     As to itself, Mane Choice denies making a complaint and is without information or

knowledge sufficient to form a belief as to the truth of the remaining allegations in Paragraph 92




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of the Complaint and, therefore, denies those allegations. As to Defendants other than Mane

Choice, Mane Choice lacks knowledge or information sufficient to form a belief as to the truth of

the allegations of Paragraph 92.

        93.    Paragraph 93 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice admits that there is controversy

between Mane Choice and Trading Collective regarding the facts of this case for the purpose of

this action.

        94.    Paragraph 94 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies that Trading Collective is

entitled to any relief whatsoever.

        95.    Paragraph 95 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies that Trading Collective is

entitled to any relief whatsoever.

                      COUNT II – FALSE OR MISLEADING REPRESENTATION
                       AND UNFAIR COMPETITION UNDER 15 U.S.C. § 1125

        96.    Mane Choice repeats, realleges, and incorporates by reference its responses to the

allegations set forth in the preceding Paragraphs, as if fully set forth.

        97.    Mane Choice admits that the Complaint purports to include an action for false or

misleading representation of fact and unfair competition under 15 U.S.C. § 1125(a) and denies any

remaining allegations in Paragraph 97 of the Complaint.

        98.    As to itself, Mane Choice is without information or knowledge sufficient to form a

belief as to the truth of the allegations in Paragraph 98 of the Complaint and, therefore, denies

those allegations. As to Defendants other than Mane Choice, Mane Choice lacks knowledge or

information sufficient to form a belief as to the truth of the allegations of Paragraph 98.



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       99.     Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 99 of the Complaint and, therefore, denies those

allegations.

       100.    Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 100 of the Complaint and, therefore, denies those

allegations.

       101.    Paragraph 101 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

101 of the Complaint.

       102.    As to itself, Mane Choice denies the allegations in Paragraph 102 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations of Paragraph 102.

       103.    Paragraph 103 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

103 of the Complaint.

       104.    Paragraph 104 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

104 of the Complaint.

       105.    Paragraph 105 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

105 of the Complaint.

       106.    Paragraph 106 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph




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106 of the Complaint.

       107.    Paragraph 107 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

107 of the Complaint.

       108.    Paragraph 108 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

108 of the Complaint.

       109.    Paragraph 109 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

109 of the Complaint.

       110.    Paragraph 110 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

110 of the Complaint.

       111.    Paragraph 111 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies that Trading Collective is

entitled to any relief whatsoever.

       112.    Paragraph 112 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies that Trading Collective is

entitled to any relief whatsoever.

       113.    Paragraph 113 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies that Trading Collective is

entitled to any relief whatsoever.




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 COUNT III – UNFAIR COMPETITION UNDER THE DELAWARE COMMON LAW

       114.    Mane Choice repeats, realleges, and incorporates by reference its responses to the

allegations set forth in the preceding Paragraphs, as if fully set herein.

       115.    Mane Choice admits that the Complaint purports to include an action for unfair

competition arising under the common law of the State of Delaware.

       116.    Paragraph 116 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

116 of the Complaint.

       117.    Paragraph 117 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

117 of the Complaint.

       118.    Paragraph 118 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

118 of the Complaint.

       119.    Paragraph 119 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies that Trading Collective is

entitled to any relief whatsoever.

       120.    Paragraph 120 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies that Trading Collective is

entitled to any relief whatsoever.

       121.    Paragraph 121 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies that Trading Collective is

entitled to any relief whatsoever.




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                       COUNT IV – TORTIOUS INTERFERENCE
                     WITH CONTRACT AND BUSINESS RELATIONS

       122.    Mane Choice repeats, realleges, and incorporates by reference its responses to the

allegations set forth in the preceding Paragraphs, as if fully set forth herein.

       123.    Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 123 of the Complaint and, therefore, denies those

allegations.

       124.    Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 124 of the Complaint and, therefore, denies those

allegations.

       125.    As to itself, Mane Choice denies the allegations in Paragraph 125 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations of Paragraph 125.

       126.    As to itself, Mane Choice denies the allegations in Paragraph 126 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations of Paragraph 126.

       127.     Paragraph 127 of the Complaint states a legal conclusion to which a response is

not required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

127 of the Complaint.

       128.    Paragraph 128 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

128 of the Complaint.

       129.    As to itself, Mane Choice denies the allegations in Paragraph 129 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient



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to form a belief as to the truth of the allegations of Paragraph 129.

       130.    As to itself, Mane Choice denies the allegations in Paragraph 130 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations of Paragraph 130.

       131.    As to itself, Mane Choice denies the allegations in Paragraph 131 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations of Paragraph 131.

       132.    Paragraph 132 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

132 of the Complaint.

       133.    As to itself, Mane Choice denies making a complaint, admits that it has not

withdrawn any complaint, and denies the remaining allegations in Paragraph 133 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations of Paragraph 133.

       134.    As to itself, Mane Choice admits that it has not performed a test purchase on

products sold by Plaintiff and denies the remainder of the allegations of Paragraph 134 of the

Complaint.    As to Defendants other than Mane Choice, Mane Choice lacks knowledge or

information sufficient to form a belief as to the truth of the allegations of Paragraph 134.

       135.    As to itself, Mane Choice denies making any accusation and states that the

remaining allegations in Paragraph 135 of the Complaint state a legal conclusion to which a

response is not required. To the extent a response is required, Mane Choice denies the allegations

in Paragraph 135 of the Complaint. As to Defendants other than Mane Choice, Mane Choice lacks

knowledge or information sufficient to form a belief as to the truth of the allegations of Paragraph




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135.

       136.    Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 136 of the Complaint and, therefore, denies those

allegations.

       137.    Paragraph 137 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies that Trading Collective is

entitled to any relief whatsoever.

       138.    Paragraph 138 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies that Trading Collective is

entitled to any relief whatsoever.

                                     COUNT V – DEFAMATION

       139.    Mane Choice repeats, realleges, and incorporates by reference its responses to the

allegations set forth in the preceding Paragraphs, as if fully set forth herein.

       140.    As to itself, Mane Choice denies the allegations in Paragraph 140 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations of Paragraph 140.

       141.    Mane Choice is without information or knowledge sufficient to form a belief as to

the truth of the allegations in Paragraph 141 of the Complaint and, therefore, denies those

allegations.

       142.    Paragraph 142 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

142 of the Complaint.

       143.    Paragraph 143 of the Complaint states a legal conclusion to which a response is not




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required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

143 of the Complaint.

       144.    Paragraph 144 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

144 of the Complaint.

       145.    Paragraph 145 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

145 of the Complaint.

       146.    Paragraph 146 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

146 of the Complaint.

       147.    Paragraph 147 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

147 of the Complaint.

       148.    As to itself, Mane Choice denies publishing statements and states that the remaining

allegations in Paragraph 148 of the Complaint state a legal conclusion to which a response is not

required. As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information

sufficient to form a belief as to the truth of the allegations of Paragraph 148.

       149.    Paragraph 149 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

149 of the Complaint.

       150.    Paragraph 150 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph




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150 of the Complaint.

       151.    Paragraph 151 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

151 of the Complaint.

       152.    Paragraph 152 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies that Trading Collective is

entitled to any relief whatsoever.

       153.    Paragraph 153 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies that Trading Collective is

entitled to any relief whatsoever.

                                  COUNT VI – TRADE LIBEL

       154.    Mane Choice repeats, realleges, and incorporates by reference its responses to the

allegations set forth in the preceding Paragraphs, as if fully set forth herein.

       155.    Paragraph 155 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

155 of the Complaint.

       156.    As to itself, Mane Choice denies the allegations in Paragraph 156 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations of Paragraph 156.

       157.    Paragraph 157 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

157 of the Complaint.

       158.    As to itself, Mane Choice denies the allegations in Paragraph 158 of the Complaint.




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As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations of Paragraph 158.

       159.     As to itself, Mane Choice denies the allegations in Paragraph 159 of the Complaint.

As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information sufficient

to form a belief as to the truth of the allegations of Paragraph 159.

       160.    Paragraph 160 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies the allegations in Paragraph

160 of the Complaint.

       161.    As to itself, Mane Choice denies making a complaint and lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations of Paragraph

161. As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information

sufficient to form a belief as to the truth of the allegations of Paragraph 161.

       162.    As to itself, Mane Choice denies leaving reviews and lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations of Paragraph

162. As to Defendants other than Mane Choice, Mane Choice lacks knowledge or information

sufficient to form a belief as to the truth of the allegations of Paragraph 162.

       163.    Paragraph 163 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies that Trading Collective is

entitled to any relief whatsoever.

       164.    Paragraph 164 of the Complaint states a legal conclusion to which a response is not

required. To the extent a response is required, Mane Choice denies that Trading Collective is

entitled to any relief whatsoever.




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                              ANSWER TO PRAYER FOR RELIEF

        Trading Collective’s prayer for relief states legal conclusions to which no response is

required, but to the extent that a response is required, Mane Choice denies them and specifically

asserts that Trading Collective is not entitled to any relief sought in its prayer for relief against

Trading Collective. Trading Collective’s prayer for relief should be denied in its entirety, with

prejudice, and Trading Collective should receive nothing.

                                  DEMAND FOR JURY TRIAL

        Trading Collective’s demand for a jury trial is a request to which a response is not required.

                           AFFIRMATIVE AND OTHER DEFENSES

                                          FIRST DEFENSE

                    (Failure to state a claim upon which relief may granted)

        1.      Upon information and belief, Trading Collective’s claims fail to state a cause of

action upon which relief may be granted.

                                        SECOND DEFENSE

                    (Failure to state a claim upon which relief may granted)

        2.      Upon information and belief, Trading Collective failed to plead certain claims with

the requisite particularity set forth in Fed. R. Civ. P. 9.

                                         THIRD DEFENSE

                       (Failure to join a necessary or indispensable party)

        3.      Upon information and belief, Trading Collective failed to join a necessary and

indispensable party to this action.




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                                       FOURTH DEFENSE

                                      (Statute of limitations)

        4.      To the extent that any given Amazon complaint was filed before March 3, 2018,

Trading Collective’s claims are barred by the applicable statute of limitations.

                                        FIFTH DEFENSE

                                       (Failure to mitigate)

        5.      Any damages alleged to have been sustained by Trading Collective were the direct

consequence of Trading Collective’s own actions or failure to act, or the actions or failure to act

of third parties for which Mane Choice is not liable.

                                   ADDITIONAL DEFENSES

        6.      Mane Choice reserves all affirmative defenses under Rule 8(c) of the Federal Rules

of Civil Procedure, the Trademark Act of the United States, and any other defenses at law or in

equity that may now exist or in the future be available based on discovery and further factual

investigation in this case.

                                     PRAYER FOR RELIEF

        WHEREFORE, Mane Choice prays for judgment against the Plaintiff as follows:

             A. That Plaintiff’s Complaint be dismissed with prejudice and the Plaintiff take

                nothing;

             B. For entry of judgment in favor of Mane Choice against Plaintiff on Plaintiff’s

                Complaint;

             C. That Plainitiff be required to pay Mane Choice’s costs of suit;

             D. That Mane Choice be awarded such other and further relief as the Court may deem

                just, reasonable, and proper.




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       Mane Choice reserves the right to amend its Answer and Affirmative and Other Defenses

to raise additional defenses, and to raise counterclaims as warranted by subsequent investigation

and/or analysis.


                                                    /s/ Jason J. Rawnsley
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                                                    Jason J. Rawnsley (#5379)
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                                                    Attorneys for Defendant
 Dated: May 7, 2020                                 The Mane Choice Hair Solution LLC




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